      Case 3:16-cv-00160-JLS-KSC Document 1 Filed 01/22/16 PageID.1 Page 1 of 16



 1 Roy Tuck                                                              JAN 22 2016
   1600 E. Vista Way #85
 2 Vista, CA 92084                                              CLER~{, u.s. DISTR:CT COURT
   Ph: 760-840-1551                                           SOUTHF.;f\j\J DiSTHIG"( OF CALIFORNIA
 3                                                            BY                          DEPUTY

 4 Plaintiff In Pro Se
 5

 6
 7
 8                   IN THE UNITED STATED DlSiRICT COURT
                       SOUmERN DISTRICT OF CALIFORNIA
 9
10 ROYTUCK                                 ) CIVIL ACTION          JaPV 0 160 JLS KS
11                       Plaintiff,        } VERIFIED cr,1v1PLAINT FOR DAMAGES
12           vs.                           ) VIOLATlmA)F 47 U.S.C.§227 et seq. TCPA
                                           ) VIOLATION OF 15 U.S.C.§1692 et seq FDCPA
13                                         ) VIOLATION OF CALIFORNIA RESEN1HOL
     DIRECTV                               ) FAIR DEBT COLLECTION PRACTICES ACT
14
                         Defendant.
                                           1 CAL. Civ. § 1788 et seq.
15
                                             DEMAND FOR JURY TRIAL
1611~   ________________________

17                                    COMPLAINT
18         COMES NOW, ROY TUCK, Plaintiff "In Pro Se" in the above-entitled case
19 as an individual hereby sues the Defendant DIRECTV, for violations ofthe
20 Fair Debt Collection Practices Act (FDCPA) 15 U.S.C. §1692 et seq., for violations
21 ofthe Telephone Communications Practices Act (TCPA) 47 U.S.C. §227(a)(iii), and
22 also for violations of the California Rosenthal Fair Debt Collection Practices Act
23 Civil Code Section 1788 et seq.
24                       PRELIMINARY STATEMENT
25         1. This is an action for damages and injunctive relief brought to this
26 9th Circuit u.S. District Court by Plaintiff ROY TUCK against Defendant DIRECTV
27 for numerous statutory violations of the Telephone Consumer Practices Act (TCPA)
28 47 U.S.C. §227(b)(1)(A), and 47 U.S.C. §227(b)(I)(A)(iii), for strict statutory

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 1 violations of the Fair Debt Collection Practices Act (FDCPA) 15 U.S.C.
 2 § 1692c(a)(1), Fair Debt Collection Practices Act (FDCPA) 15 U.S.C. §1692d(5),

 3 Fair Debt Collection Practices Act (FDCPA) 15 U.S.C. §1692d(6),Fair Debt
 4   Collection Practices Act (FDCPA) 15 U.S.C. §1692e(1O), the California Rosenthal
 5 Fair Debt Collection Practices Act (CFDCPA) CAL. Civ. §1788 et seq.
 6                        JURISDICTION AND VENUE
 7         2. Jurisdiction ofthis Court arises under 47 U.S.C.§227(b)(3) and
 8 15 U.S.C. §1692(k)(d), supplemental jurisdiction also exists for the state law claims

 9 pursuant to California Stat.§1788 and California Code of Civil Procedure §410.1O.
10         3. Defendant DIRECT TV conducts business in the State of California and
11 therefore, personal jurisdiction is established. The jurisdiction of this court is
12 furthermore conferred by 15 U.S.C. §1681p.
13         4. Venue is proper pursuant to 28 U.S.c. §1391b and California Civil
14 Procedure §395(a). Venue in this 9TH district is proper in that Plaintiff TUCK resides
15 in San Diego County, the Defendant DIRECT TV transacts business in San Diego
16 County, and the conduct complained of occurred in San Diego County.
17         5.   This is an action for damages which exceeds $50.000.00 U.S. Dollars
18                                       PARTIES
19         6.   In Pro Se Plaintiff, ROY TUCK, (hereinafter "TUCK") is a natural
20 person and a resident of the State of California, San Diego County.
21         7.   Upon information and belief Defendant DIRECTV is a company fully
22 authorized to do business in California, with a corporate headquarters located at

23 Greenwood Village, Colorado, 80155 and a billing headquarters based out of
24 Phoenix, Arizona.
25         8.   Defendant DIRECTV is a multi-state TV service providing entity which
26 during the coarse of its normal business hours collects consumer debts, bringing
27 DIRECTV well within the ambit's ofthe California Rosenthal Fair Debt Collection
28 Practices Act (CFDCPA) as defined by California Civil Procedure § 1788 et seq ..


     VERIFIED COMPLAINT FOR DAMAGES                                                     PAGE 2
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 1                          FACTUAL ALLEGATIONS
 2         9.   Plaintiff TUCK has no prior or present established relationship with the
 3 Defendant DIRECTV as it pertains to the alleged consumer debt account or

 4 unreturned TV equipment.
 5         10. Plaintiff TUCK has no contractual obligation to pay Defendant
 6 DIRECTV anything.
 7         11. Plaintiff TUCK has never given Defendant DlRECTV express written
 8    ermission to call Plaintiffs cellular phone more than 55 times between the dates of
 9 December 31,2012 to June 12,2015. {Please see Exhibit A attached herein}.
10 Defendant DIRECTV called Plaintiff's cell phones 760-840-1809 & 760-840-1551
11 from phone numbers 800-531-5000, 800-303-9117, 866-949-4507, 866-319-9838,
12 877-829-4723 more than 55 times, clearly violating 15 U.S.C. §1692c(a).
13         12. Plaintiff TUCK hereby moves this honorable court to take NOTICE that
14 none of the more than 55 harassing consumer debt collection calls made by

15 Defendant DIRECTV between the dates of December 12, 2012 and June 12,2015
16 were made for emergency purposes clearly violating 47 U.S.C. §227(b)(1)(A)(iii).

17         13. Plaintiff TUCK moves this honorable court that between the dates of
18 December 31,2012 to June 12,2015 Defendant DIRECTV called Plaintiffs
19 cell phones 760-840-1809 & 760-840-1551 from phone numbers 800-531-5000,
20 800-303-9117,866-949-4507,866-319-9838,877-829-4723 more than 55 times
21 violating the TCPA's strict statutory guidelines by using automatic telephone dialin
22 system capabilities or artificial or prerecorded messages or voices on the Plaintiffs
23 cell phones clearly violating 47 U.S.C. §227(b)(1 )(A).
24         14. Between the dates of December 31, 2012 to June 12,2015
25 Defendant DIRECTV called Plaintiffs cell phones 760-840-1809 & 760-840-1551
26 from phone numbers 800-531-5000,800-303-9117,866-949-4507,866-319-9838,
27 877-829-4723 more than 55 times. Defendant DIRECTV asserted a right which is
28 lacks to wit, the right to enforce a $404.46 consumer debt allegedly owed by TUCK.
     VERIFIED COMPLAINT FOR DAMAGES                                                PAGE 3
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 1         15. Between the dates of December 31,2012 to June 12,2015 Defendant
 2 DIRECTV called Plaintiff's cell phones 760-840-1809 & 760-840-1551 which is
 3 assigned to San Diego county cell phone service provider T-MOBILE from phone

 4 numbers 800-531-5000, 800-303-9117, 866-949-4507, 866-319-9838, 877-829-472

 5 more than 55 times. Defendant DIRECTV failed to identify that they were consumer

 6 debt collectors trying to collect a $403.46 consumer debt originating during the year
 7 of2009, allegedly owed by the Plaintiff TUCK.

 8         16. On numerous occasions the Plaintiff has demanded in writing that
 9 Defendant DIRECTV provide Plaintiff TUCK with written "verification" and
10 consumer debt validation and defined by 15 U.S.C. § 1692g(1 )(2)(5)(b) and the
11 California Consumer Protection Statutes and Laws clearly demonstrate willful and
12 non-compliance with 47 U.S.C. §227(b)(I)(A).

13         17. Defendant DIRECTV by and thru their above-described actions violated
14 the strict statutory guidelines set forth in §1692d ofthe Fair Debt Collections

15 Practices Act (FDCPA) by engaging in conduct the natural consequences of which i
16 to harass, oppress, or abuse the Plaintiff by calling his cell phone on more than 55

17 separate occasionsover a three and a half year period of time from December 31,
18 2013 to June 12,2015. Many ofthese cell phone calls were placed before the early
19 morning hours of8:00 am, and many of these same abusive calls were placed
20 multiple times on the very same day, all of which the Plaintiff has to pay for.
21         18. Defendant DIRECTV clearly violated section §1692d(5) ofthe Fair Debt
22 Collection Practices Act (FDCPA) and at the very same time violated the California
23 Rosenthal Fair Debt Collection Practices Act (CFDCPA) Section § 1788.17 by

24 calling Plaintiff TUCK on his personal cell phones on more than 55 separate
25 occasions and causing Plaintiff TUCK's cellular phone to ring repeatedly and
26 continuously with the intent to armoy, abuse, or harass.
27         19. This same alleged $403.46 consumer debt arose out of a transaction that
28 was primarily for personal, family, or household purposes.

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 1         20.    As Plaintiff has no business debt, the alleged debt sought now by
 2 Defendant DIRECTV could only have been used for personal purposes.
 3         21. During this same 3 and Y, year period oftime the Defendant DIRECTV
 4 ignored all written attempts by Plaintiff TUCK to have DIRECTV cease and desist
 5 all collection activities immediately,   instead, the Defendant commenced an ongoing
 6 daily 3 Yz year campaign to harass, abuse and coerce PlaintijJTUCK into paying th
 7 alleged $403.46 consumer debt.
 8         22. On October 23,2012, Plaintiff TUCK sent Defendant DIRECTV a
 9 Notice of Intention to Commence Action by United States Certified Mail Receipt
10 No# 7014 0510 0001 5651 5728 which the Defendant received and signed for on
11 October 29,2012. To date DIRECTV has not responded to any/all communication

12 efforts made by Plaintiff Tuck.
13
                                            COUNT I
14    VIOLATIONS OF THE TELEPHONE COMMUNICATIONS PRACTICES ACT
                 (TCPA) 47 U.S.C. §227(b)(I)(A) BY DEFENDANT DIRECTV
15

16         23. Plaintiff TUCK re-alleges and restates all of the foregoing jurisdictional
17 allegations and general factual allegations in paragraphs 1 thru 22 herein.
18         24. (TCPA) 47 U.S.C. §227(b)(I)(A) states in part;
19         (b) RESTRICTIONS ON THE USE OF AUTOMATED TELEPHONE EQUIPMEN
20         (I) PROHIBITIONS - It shall be unlawful for any person within the
               United States. or §erson outside the United States if the recipient is
21             inside the United tates-
22
23

24         25. Defendant DIRECTV has demonstrated willful and knowing
25 non-compliance with 47 U.S.C. §227(b)(l)(A) by using an automatic telephone
26 dialing system to call the Plaintiffs cell phone numbers more than fifty five (55)
27 times from December 31, 2012 thruJune 12,2015. All ofthese same call's were
28 made to Plaintiff TUCK'S cellular phone numbers (760)-840-1809 &

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 1 (760)-840-1551 assigned to a San Diego county cellular service provider T-Mobile

 2 and listed on the "National Do Not Call List" since December 17,2008.
 3         26. Defendant DIRECTV has committed fifty six (56) separate strict
 4 statutory violations of 47 U.S.C. §227(b)(I)(A). Accordingly PlaintiffTUCK is
 5 entitled to statutory damages in the amount of$500 dollars    u.s. for the first
 6 "unintentionaf' consumer collection call made to Plaintiff TUCK by the Defendant
 7 DlRECTV on December 31,2012 at 10:17 am {See Exhibit A attached herein}
 8 pursuant to 47 U.S.C. §227(b)(I)(A).
 9         27. Plaintiff TUCK is also entitled to treble damages or $1500.00 dollars U.S.
10 for each of the additional fifty five (55) "intentional" debt collection calls placed by
11 Defendant DIRECTV to the Plaintiffs cell phone numbers (760) 840-1809 &
12 (760) 840-1551 after this initial first "unitentionaf' call pursuant to 47 U.S.C.
13 §227(b)(3)(B).
14         28. Defendant DIRECTV has demonstrated willful and knowing non-
15 compliance with 47 U.S.C. §227(b)(3)(B) as those calls were ALL "intentional",
16 meaning the last fifty five (55) consumer debt collection calls placed by DIRECTV
17 to Plaintiff TUCK are subject to treble damages, or $1500 per call pursuant to
18 47 U.S.C. §227(b)(3)(B).
19         29. Defendant DIRECTV has also demonstrated willful or knowing non-
20 compliance with 47 U.S.C. §227(b)(I)(A)(iii) as 55 ofthe consumer debt collection
21 calls made by the Defendant DIRECTV to the Plaintiff are subject to treble damages
22 pursuant to U.S.C. §227(b)(3) as these calls were intentional.
23         30. Plaintiff TUCK and DIRECTV do not have an established business
24 relationship within the meaning of 47 U.S.C. §227 et seq.
25         WHEREFORE, Plaintiff TUCK demands judgement for damages against
26 GPS for actual, statutory, and punitive damages, attorney's costs and fees pursuant
27 to 15 U.S.C. §227(b)(1 )(A), together with such other and further relief as the Court
28 may deem reasonable and just under the circumstances.


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 1                                       COUNT II
        VIOLATIONS OF THE FAIR DEBT COLLECTIONS PRACTICES ACT
 2          (FDCPA) 15 U.S.C. §1692(c)(a)(I) BY DEFENDANT DIRECTV
 3         31. Plaintiff TUCK re-alleges and restates all of the foregoing jurisdictional
 4         allegations and general factual allegations in paragraphs 1 thru 30 herein.
 5         32.15 U.S.C. §1692(c)(a)(1) states in part;
 6            COMMUNICATION WITH THE CONSUMER GENERALLY
              without the prior express written consent of the consumer given directly
 7            to the consumer ~ejjt collector or the express permission of a court of
              competent jurisdiction, a consumer debt collector may not communicate
 8            with the consumer in connection with the collection of the consumer debt.
 9         33. Defendant DIRECTV placed more than fifty five (55) voice and/or
10 automated telephone calls to Plaintiff TUCK'S personal T-Mobile cellular phone
11   numbers (760)-840-1809 & (760) 840-1551 between the dates of December 31,201
12 and June 12,2015, DIRECTV deliberately and intentionally committed 55 separate
13 and distinct statutory violations of 15 U.S.C. §1692(c)(a) . Every single one ofthese

14 illegally placed calls was made by Defendant DIRECTV without the prior express
15   written consent of the consumer Plaintiff TUCK.
16         34. Defendant DIRECTV knew or should have known that all 56 voice
17 and/or automated phone calls placed to Plaintiff TUCK's personal cellular phones
18 were both inconvenient, annoying, and cost him money on his cell phone bills.
19 Every single one ofthese placed calls made by DIRECTV staffwere made to

20 Plaintiff TUCK'S cellular phones without the prior express written consent of the
21 consumer, Plaintiff TUCK.
22         35. DefendantDIRECTV progressively violated 15U.S.C. §1692(c)(a) by
23 continuously calling TUCK more than fifty five (55) times over a period of months
24 and years between the dates of December 31, 2012 and June 12,2015.

25 {See Exhibit A attached herein, i.e. TUCK'S T-Mobile personal cell phone logs}.

26 Every single one ofthese fifty six (56) calls was placed by DIRECTV
27 without the prior express written consent of the consumer, Plaintiff TUCK.
28         36. Such communication is strictly prohibited by 15 U.S.C. § 1692(c)(a).
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 1         WHEREFORE, Plaintiff TUCK demands judgement for damages and
 2 injunctive relief against Defendant GPS for actual statutory punitive damages,

 3 attorney's fees and costs pursuant to 15 U.S.C. §1692(c)(a), together with such other

 4 and further relief as the Court may deem reasonable and just under the
 5 circumstances.
 6                              COUNT III
      VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
 7                §1692(d)(5) BY DEFENDANT DIRECTV
 8         37. Plaintiff TUCK re-alleges and restates all ofthe foregoing jurisdictional
 9 allegations and general factual allegations in paragraphs 1 thru 36 herein.
10         38. 15 U.S.C. §1692(d) states in part;
               A debt coifector may not engage in any conduct the natural consequences
11             of which is to harass. olWress. or abuse any person in connection with the
               collection of a consumer debt. Without limltml?; the ~eneraI afflication of
12             the foregomg. the following conduct is a violatIOn 0« this sec IOn:
13
           39.15 U:S.C. §1692(d)(5) s~ates in par~;                .
14            Causmg a telephone to rmg or engagmg anY_Derson m a telephone
              conversation repeatedly or continuouslv witll the intent to annoy. abuse.
15            or harass any person at the called number.
16         40. Defendant DIRECTV violated 15 U.S.C. §1692(d)(5) by calling Plaintiff
17 TUCK on his personal cell phone numbers (760)-840-1809 & (760) 840-1551 more
18 than fifty (55) separate times {many times before 8:00 am in the morning}
19 {many times calling multiple times in the same day} directly causing the Plaintiffs
20 personal cell phone to ring repeatedly and continuously with the intent to annoy,
21 abuse, or harass the Plaintiff. Every single one of these placed calls was made by

22 GPS without the prior express written consent ofthe consumer, Plaintiff TUCK.

23         41. During this same 53 day period between February 25,2015 and
24 April 17, 2015 DIRECTV staff intentional and repeatedly called Plaintiff TUCK
25 more than 55 times on his personal cell phone numbers (760) 840-1809 &
26 (760) 840-1551 This has caused this 56 year old Plaintiff undue stress, confusion,
27 long term nervousness and embarrassment, and unexpected increased cell phone bill
28 that this Plaintiff could ill afford, {See Exhibit A attached herein}.



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 1         42. Plaintiff Tuck hereby alleges that Defendant DIRECTV caused his cell
 2 phones to ring on more than fifty five (55) separate occasions between the dates of

 3 December 31,2012 and June, 12,2015, by causing him to answer these calls and
 4 either engage in a conversation with DIRECTV staff or have to listen to numerous

 5 pre-recorded messages left by DIRECTV staff on TUCK'S cell phone message

 6 service accounts, which Plaintiff TUCK has to pay monies for.
 7         WHEREFORE, Plaintiff demands judgement against GPS for actual,
 8 statutory, and punitive damages, attorneys fees and costs, pursuant to
 9 15 U.S.C. § 1692(d)(5), together with such other and further relief as the Court may
10 deem reasonable and just under the circumstances.
11                              COUNT IV
   VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
12           15 U.S.C. §1692(d)(6) BY DEFENDANT DIRECTV
13         43. Plaintiff TUCK re-alleges and restates all of the foregoing jurisdictional
14 allegations and general factual allegations in paragraphs 1 thru 42 herein.
15         44. 15 U.S.C. §1692(d) states in part;
16

17
18

19
20

21         45. Defendant DIRECTV staff/personnel violated 15 U.S.c. §1692(d)(6)
22 by placing more than fifty five (55) automated and/or voice calls to Plaintiff

23 TUCK'S cell phones between the dates of December 31, 2012 and

24 June 12,2015. On several occasions these very same calls were made without
25 meaningful disclosure of the caller DIRECTV's true identity. All fifty five (55

26 calls were independently placed at different times. Every single one of these

27   more than 55 phone calls placed by Defendant DIRECTV were being made
28   }Vithout the prior express written consent of the consumer, Plaintiff TUCK.


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 1 This added to the Plaintiffs daily confusion and anxiety about these very same
 2 calls.
 3          i.e.   Who is this person or machine on the other end of the phone?
                   Why are they calHrzg me almost every day, many times a day?
 4                 ff1iY are the)! leavmg these strange messages?
                   W7iv ~on 't the peop.le (when (hey do come on the line)
 5                 no{bsten to me ana stop calbng me?
 6          46. Defendant DIRECTV is using the Plaintiffs age 56 years old and
 7   inability to properly hear correctly in both ears against him by continually
 8   calling him sometime's more than once a day, to harass, annoy and coerce hi
 9 into paying an alleged grossly inflated, non-existent consumer debt.
10          47. Defendant DIRECTV thru mailed dunning letters and phone calls
11 to Plaintiff TUCK threatening to report this same alleged non-existent
12   consumer debt as a $403.46 negative consumer debt item to be placed by
13   DIRECTV on all three National consumer credit reporting agencies, these very
14 same illegal business activities border on the edge of professional business
15 extortion practices.
16          WHEREFORE, Plaintiff TUCK demands judgement for damages
17   against DIRECTV for actual, statutory, and punitive damages, attorney's costs
18   and fees pursuant to 15 U.S.C. §1692(d)(6) together with such other and further
19   relief as the Court may deem reasonable and just under the circumstances.
20                                         COUNT V
   VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT QjDCPA)
21             15 U.S.C.§1692£e)(10) BY DEFENDANT DIRECT
22          48.    Plaintiff TUCK re-alleges and restates all of the foregoing jurisdictional
23   allegations and general factual allegations in paragraphs 1 thru 47 herein.
24          49. Defendant DIRECTV violated 15 U.S.C. §1692(e)(10) by the use offalse
25 representation or deception means to collect or attempt to collect a debt or to obtain
26   information concerning a consumer.
27          50. Defendant DIRECTV staff lied to Plaintiff Tuck on numerous occasions
28 from December 31, 2012 thru June 12,2015 to gain information about the Plaintiff.


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 1
          51.15 U.S.C. §1692(e) states in part;
 2
                 A debt collector may not use any false, deceErve, or misleading
 3               representation or means in connection with e collection of an]
                  consumer debt.Without limitinf the general application of the ore going.
 4                The following conduct is a vio ation ofthis section:
 5         52.15 U.S.C. §1692(e)(10) states in part;
 6               The use of any false representation or deceptive means to collect
                 or attempt to collect a consumer debt or obtain information
 7               about a consumer.
 8         53. Plaintiff TUCK received fifty five (55) illegal placed calls by
 9   DIRECTV staff months after he had requested in writing on May 3, 2015 for
10   certficationlvalidation ofthe alleged $403.46 alleged consumer debt. These same
11   fifty five (55) illegally placed calls by Defendant DIRECTV staff constitute more
12   than fifty five (55) separate and distinct statutory violations as defined by 15 U.S.C.
13   §1692g(1)(2)(5)(b) and the California Consumer Protection StatuteslLaws.
14         WHEREFORE, Plaintiff TUCK demands judgement for damages against
15   DIRECTV for actual, statutory, and punitive damages, attorney's costs and fees
16   pursuant to 15 U.S.C. § 1692(e)(10) together with such other and further relief as
17   the Court may deem reasonable and just under the circumstances.
18
                                          COUNT VI
19 VIOLATIONS OF THE CALIFORNIA ROSENTHAL FAIR DEBT
   COLLECTION PRACTICES ACT CALIFORNIA CIVIL CODE §1788 et seq.
20                   BY DEFENDANTDIRECTV
21   Plaintiff TUCK re-alleges and restates all ofthe foregoing jurisdictional allegations
22   and general factual allegations in paragraphs 1 thru 53 herein.
23         54.     Plaintiff TUCK is a consumer within the meaning of
24   15 U.S.C. §1692 et seq.
25         55. Defendant DIRECTV is seeking to collect an alleged $403.46 consumer
                                   .f
26   debt from Plaintiff TUCK aSdefmed by California Civil Procedure §1788(f).
27         56. The alleged DIRECTV consumer debt account in question is a consumer
28   transaction as defined by California Civil Procedure § 1788(e), as the Plaintiff


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 1 Plaintiff TUCK has allegedly received property, services or money from Defendant
 2   DIRECTV or an extension of credit, and such property, services or money was used
 3   primarily for personal, family or household purposes.
 4         57. Defendant DIRECTV also violated §1788.11(d) ofthe California
 5   Rosenthal Fair Debt Collection Practices Act (CFDCPA) by placing collection calls
 6   to the Plaintiffs cellular phone repeatedly and continuously so as to annoy,
 7   harass or embarrass the Plaintiff. Plaintiff TUCK contends he has always paid all
 8   of his consumer bills in as timely manner as possible.
 9         58. Defendant DIRECTV violated § 1788.17 of the California Rosenthal Fair
10   Debt Collection Practices Act (CFDCPA) by placing consumer numerous harassing
11   debt collection calls to the Plaintiff with such frequency as to be unreasonable and
12   to constitute direct intentional harassment of the Plaintiff under the circumstances.
13         59. Defendant GPS also violated Section § 1788.17 of the California
14   Rosenthal Fair Debt Collections Practices Act (CFDCPA) by continuously failing
15   to comply with the statutory regulations contained within the United States Fair
16   Debt Collection Practices Act (FDCPA) 15 U.S.C. §1692 et seq.
17         WHEREFORE, Plaintiff TUCK demands judgement for damages against
18   DIRECTV for actual statutory and punitive damages, attorney's fees pursuant to
19   §1788.30(b) and costs pursuant to § 1788.30(c), the California Rosenthal Fair Debt
20   Collection Practices Act CC1788 et seq., together with such other and further relief
21   as the Court may deem reasonable and just under the circumstances.
22                             VERIFICATION
                     DECLARATION OF PLAINTIFF - ROY TUCK
23

24              I, ROY TUCK, declare as follows:
25         60. I am the In Pro Se Plaintiff in the above-entitled 9 th Circuit District case.
26         61. I am of age, sound mind and competent to testify to all of the facts based
27   on first-hand knowledge of all of the aforementioned items so stated.
28


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 1
           62. I have been damaged financially, socially and emotionally since
 2
     December 31, 2012 as a direct result of Defendant DIRECTV unlawful actions and
 3
     conduct including more than fifty five (55) calls to my cellular phones.
 4
            63. I have read the foregoing pleading's in thier entirety and believe all of
 5
     the fact's therein stated to be both true and correct.
 6
           64.   I declare under the penalty of perjury pursuant to the laws of California
 7
     and the Courts ofthe United States, that the foregoing is true and correct to the best
 8
     of my knowledge, infonnation and belief.
 9
           65. Plaintiff TUCK demands judgement for damages against DIRECTV
10
     for actual, statutory, and punitive damages, attorney's costs and fees pursuant to
11
     pursuant to §1788.30(b) and costs pursuant to § 1788.33(c) together with such other
12
     and further relief as the Court may deem reasonable and just under the
13
     circumstances.
14

15                             DEMANDFORJURYT~

16         Plaintiff ROY TUCK hereby demands a trial by jury of all issues so triable as
17   a matter of law. Respectfully submitted to this court this~day of January 2016.
18

19

20   ROY TU· ,Declarant In Pro Se.
     1600 E. Vlsta Way #85
21   Vista, CA 92084
     Ph: 760-840-1551
22

23   III
24   III
25   III
26   III
27   III
28   III

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 1                                                              EXHIBIT A
 2   DATE                         TIME                              CALLED FROM                   COMPANY
 3   12/3112012                   10:17 am                           800-531-5000                 DIRECT TV
 4   12/3112012                   4:22 pm                            800-531-5000                 DIRECT TV
 5   1213112012                   4:25 pm                            800-531-5000                 DIRECT TV
 6   03/13/2013                   7:31 pm                            800-531-5000                 DIRECT TV
 7   03/Uf!l211lij                n1l~L~9J             ~dl\jn        1'11~  (oJ 1R,~.~),i
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12   OJ/Jl4:,/?:[P ll3            '7 ~ ,"..6bl~(,   Ipli1LTc         8{Kv-·53 It <j{J(D~          If})TIRECT 1"0/
13   03/1912013                   9:18 am                            800-531-5000                 DIRECT TV
14   03/19/2013                   12:42 pm                           800-531-5000                 DIRECT TV
15   03/19/2013                   3:11 pm                            800-531-5000                 DIRECT TV
16   03/19/2013                   3:59 pm                            800-531-5000                 DIRECT TV
17   03/2112013                   6:00 pm                            800-531-5000                 DIRECT TV
18   03/26/2013                   4:59 pm                            800-531-5000                 DIRECT TV
19   03/26/2013                   5:00 pm                            800-531-5000                 DIRECT TV
20   04/05/2013                   7:33 am                            800-531-5000                 DIRECT TV
21   04/05/2013                   7:35 am                            800-531-5000                 DIRECT TV
22   04/05/2013                   7:36 am                            800-531-5000                 DIRECT TV
23   04/05/2013                   7:33 am                            800-531-5000                 DIRECT TV
24   04/08/2013                   2:27 pm                            800-531-5000                 DIRECT TV
25   04/20/2013                   7:58 am                            866-949-4507                 DIRECT TV
26   04/20/2013                   7:59 am                            866-949-4507                 DIRECT TV
27   04/20/2013                   8:02 am                            866-949-4507                 DIRECT TV
28   04/20/2013                   8:41 am                            866-949-4507                 DIRECT TV
     LEGEND: "SAME DAY CALLS, 0 SAc,IE D:,Y CALLS," SAME DAY CALLS, "SAME DAY CALLS,
             " SAME DAY CALLS. " CALLS MADE BEFORE 8:00 AM PACIFIC STANDARD TIME

     VERIFIED COMPLAINT FOR DAMAGES - EXHIBIT A                                                              PAGE 14
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 1                           EXHIBIT A {CONTINUED}
 2   DATE                     TIME                          CALLED FROM                 COMPANY
 3   04/20/2013              8:54 am                         800-303-9117               DIRECT TV
 4   04120/2013              8:55 am                         800-303-9117               DIRECT TV
 5   04/20/2013              10:24 am                        800-347-3288               DIRECT TV
 6   04/25/2013              7:58 am                         800-303-9117               DIRECT TV
 7   04/25/2013              7:59 am                         800-303-9117               DIRECT TV
 8   05/0612013              8:41 am                         866-319-9838               DIRECT TV
 9   05/06/2013              8:42 am                         866-319-9838               DIRECT TV
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13   04/08/2014              8:57 am                         800-531-5000               DIRECT TV
14   04/08/2014              8:59 am                         800-531-5000               DIRECT TV
15   05/07/2014              10:14 am                        800-531-5000               DIRECT TV
16   06/02/2014              1:55 pm                         800-531-5000               DIRECT TV
17   07/01/2014              11:19 am                        800-531-5000               DIRECT TV
18   07/01/2014              11:21 am                        800-531-5000               DIRECT TV
19   07/01/2014              11:25 am                        800-531-5000               DIRECT TV
20   08/06/2014              9:39 am                         800-531-5000               DIRECT TV
21   08/09/2014              9:21 am                         800-531-5000               DIRECT TV
22   10/17/2014              12:30 pm                        800-531-5000               DIRECT TV
23   10/2112014              4:56 pm                         800-531-5000               DIRECT TV
24   10/2112014              11:32 am                        800-531-5000               DIRECT TV
25   02/27/2015              7:05 pm                         800-531-5000               DIRECT TV
26   03/0112015              1:23 pm                         800-531-5000               DIRECT TV
27   04/04/2015              12:11 pm                        800-531-5000               DIRECT TV
28   04/04/2015              12:12pm                         800-531-5000               DIRECT TV
     LEGEND: .. SAME DAY CALLS, co SAME DAY CALLS, C SAM!; [JAY CALLS,. SAME DAY CALLS,
             • SAME DAY CALLS, • CALLS MADE BEFORE 8:00 AM PACIFIC STANDARD TIME

     YERIFIED COMPLAINT FOR DAMAGES - EXIIIBIT A                                                     PAGElS
     Case 3:16-cv-00160-JLS-KSC Document 1 Filed 01/22/16 PageID.16 Page 16 of 16



 1 ROY TUCK v. DIRECTV,
 2   United States District Court Case No.
 3                         CERTIFICATE OF SERVICE
 4         I, Debbie Tuck, hereby certify that I am over the age of 18 and not
 5   party to this action caused to be served upon the Defendant DISRECTV a
 6   true and correct copy of the following document(s):
 7         * VERIFIED COMPLAINT FOR DAMAGES
 8         * CONSUMER NOTICE OF DISPUTE OF DEBT
 9 Via U.S. mail, first class, addressed to Defendant's last known reported address as
10    follows:
11         DIRECTV BILLING DEPARTMENT
           PO Box 78626, Phoen~';! AZ, 85062-8626.
12
           Executed on this '1IVday ofJanuary 2016, in San Diego county, U.S.A.
13

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20   /II

21   III
22   III
23   III
24   III
25   III
26   III
27   III
28   III



     VERIFIED COMPLAINT FOR DAMAGES - PROOF OF SERVICE                          PAGE 17
